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 8                         UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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11     TYANNA WALKER, et al.,                  Case No.: 19cv347-LAB (JLB)
12                               Plaintiffs,
                                               ORDER TO SHOW CAUSE RE:
13     v.                                      DISMISSAL
14     THE CONTROL GROUP MEDIA
       COMPANY, INC., et al.,
15
                                Defendant.
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18          Defendants filed a motion to compel arbitration (Docket no. 8) and a motion
19   to dismiss (Docket no. 13). The hearing date on these motions is Tuesday, June
20   25, 2019. (See Docket no. 14.) The oppositions were therefore due on Tuesday,
21   June 11, 2019. See Civil Local Rule 7.1(e)(2). Plaintiffs, who are represented by
22   counsel, have not filed oppositions to the two motions. The hearing on those
23   motions, currently on calendar for Tuesday, June 25, 2019, is VACATED.
24          Plaintiffs are ORDERED TO SHOW CAUSE why the two motions should not
25   summarily be granted. See Civil Local Rule 7.1(f)(3)(c). They may do so by filing
26   their written opposition by June 19, 2019, along with a memorandum of points and
27   authorities not longer than three pages explaining their failure to oppose the
28   motions.

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 1         If Plaintiffs fail to show cause as ordered, the Court may construe Plaintiffs’
 2   non-opposition as consent to the motions’ being granted. See Civil Local Rule
 3   7.1(f)(3)(c).
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 5          IT IS SO ORDERED.
 6   Dated: June 12, 2019
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 8                                           Hon. Larry Alan Burns
                                             Chief United States District Judge
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